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                      Exhibit 29
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In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)

Opinion of Frank W. Smart, MD, FACC, FACP
October 14, 2016


Background and Qualifications:

I am a cardiologist currently serving as Professor of Medicine and the Chief of Cardiology at the
Louisiana State University School of Medicine in New Orleans. I am board certified in general cardiology
and the specialty of heart failure, mechanical circulatory support, and cardiac transplantation. My
certification is through the American Board of Internal Medicine and expires in 2020. My Curriculum
Vitae is included for review and attached as Appendix A.

I have been in practice since 1991 and I routinely see and care for patients with a multitude of cardiac
abnormalities including atrial fibrillation. I am active in clinical and translational research in
cardiovascular medicine, and teach medical students, residents, and cardiology fellows as part of my
responsibility as a Professor of Medicine at LSU School of Medicine.

I am a lecturer on cardiovascular topics nationally and internationally and I have consulted with
biopharmaceutical companies on the development of drugs to treat congestive heart failure.



Methodology:

In forming my opinion set forth within, I reviewed multiple publications on new oral anticoagulants
(NOACs) and their use in atrial fibrillation and other indicated and non-indicated conditions. These
papers were generated as part of multiple PubMed searches of the scientific literature. My opinion is
also based on personal experience with prescribing Xarelto and other NOACs, as well as warfarin to my
patients with non-valvular atrial fibrillation, deep vein thrombosis, (DVT); and pulmonary embolus, (PE).
Additionally, I have reviewed internal company documents that were provided to me as part of the
Rivaroxaban product liability litigation. The list of materials considered is listed in Appendix B. Also
attached to this report is a list of prior testimony and fee schedule in this matter as Appendix C. All of
the opinions set forth in my report are stated to a reasonable degree of medical certainty. I reserve the
right to supplement my opinions in the event that new information becomes available.




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Summary of My Opinions:


1. Atrial fibrillation is the most common arrhythmia in the United States, and is predicted to affect
nearly 6 million Americans by 2017. This common disease is associated with advancing age,
hypertension, other structural heart diseases, and obstructive sleep apnea. Atrial fibrillation results in
increased risk of thromboembolic stroke when stagnant blood in the left atrium forms a clot and is
ejected from the heart to one of the arteries of the brain. The use of systemic anticoagulants will
reduce the risk of embolic stroke in atrial fibrillation. Warfarin, and antagonist to vitamin K, is the gold
standard agent which has been used to reduce the risk of embolic stroke.

Patients are assessed for their risk of thromboembolic stroke using the CHA2DS2-VASc scoring system
which takes into account, among other factors, the patient's age, sex, prior stroke history, and other risk
factors. Such a scoring system is necessary when treating patients with anticoagulants because while
anticoagulation is effective to reduce embolic stroke, there is a significant trade-off of increased
bleeding risk. This is particularly true in elderly patients who have diminished ability to metabolize
drugs, and frequently have more comorbid illnesses that require other medications which also may
interact with systemic anticoagulants.



2. New Oral Anticoagulants, (NOACs) were first approved by the FDA for clinical use in October 2010
when the direct thrombin inhibitor Dabigatran, (Pradaxa) was released. Later, oral factor Xa inhibitors
were released for non-valvular afib and DVT/PE indications. Currently Xarelto (Rivaroxaban), Eliquis
(Apixaban), and Savaysa (Endoxaban) are released in the United States for the above indications. This
report will focus on the reduction of ischemic stroke in patients with non-valvular atrial fibrillation. Of
all the currently available new oral anticoagulants, Rivaroxaban has the narrowest therapeutic index,
which means slight variations in the dose or patient characteristics can have significant results in
whether the patient is over or under anticoagulated. This is because of multiple characteristics of
Rivaroxaban and its metabolism, but particularly because of the high dose required to attain a once daily
dosing schedule. The FDA made a similar observation in the November 2011 FDA Summary Review
(approving the SPAF indication), by stating: “The half-life of rivaroxaban is less than 12 hours (resulting
in trough serum concentrations less than 25% of peak concentrations when administered once a day) so
we suggested that administering XARELTO twice a day might result in better outcomes.” (FDA Summary
Review, NDA 202439) The figure below from the Canadian Journal of Cardiology Vol. 29 Issue 7
Supplement; July 2013 demonstrates the excessive amount of anticoagulation that results from higher
doses of Rivaroxaban to attain a once daily dosing regimen. The shaded area of each graph is the Ctrough
which is the range of anticoagulation that will reduce thromboembolic stroke but is not associated with
increased bleeding. In Xarelto this Ctrough is not well defined so graph B shaded area is the 5%-95%
confidence area of Ctrough from the ROCKET-AF study. The colored lines represent different patient
characteristics such as kidney function, age, and other drugs used at the same time as Dabigatran,
Rivaroxaban, and Apixaban.


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Graph A and C have two smaller humps since Dabigatran and Apixaban are dosed twice daily.
Rivaroxaban has one large hump since the marketed and approved dosing schedule is once daily. The
graphic representation of the concentration of each drug in the blood stream is proportional and the
distance above the shaded Ctrough is also proportional.



3. Xarelto is marketed to physicians and patients as a once daily drug, and this dosing schedule is
heralded as superior to other NOACs because of improved compliance with the medication and ease of
administration. However, Xarelto is a highly variable drug with respect to liver and kidney breakdown.
The package label currently breaks down renal function into 3 groups of patients. Those with
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theoretically “normal” renal function and GFR greater than 50 are supposed to be given 20mg of Xarelto
daily. Those with moderately impaired renal function and GFR between 15 and 49 are supposed to be
given 15mg Xarelto daily; and those with severely impaired renal function and a GFR less than 15 are
advised to not receive Xarelto. Based on the current FDA labeling a patient with a GFR of 14 should not
get Xarelto because of excessive bleeding risk, but a patient with a GFR of 20, (a very small difference in
renal function) should receive 15mg daily. In order to maintain an anticoagulated state at hour 24 a very
high level of anticoagulation is required at hour 2 (whether on the 20 mg dose for normal renal function
or the 15 mg dose for reduced renal function). It is unreasonable to assume that all people in this group
of older individuals with a number of comorbid illnesses take the full 15 mg per day dose of Xarelto and
not have significant exposure to increased bleeding risk. The same can be said for those patients who
take the 20 mg dose. This is particularly true when they are taking other medications that even
minimally alter the breakdown of Xarelto.


4. Xarelto because of the above-mentioned issues is the worst in its class of new oral anticoagulants
with respect to bleeding risk, and it is also the worst in its class with respect to thromboembolic stroke
prevention when compared to warfarin. In their Phase 3 clinical trial programs for SPAF, both Pradaxa
and Eliquis were able to achieve superiority with respect to stroke prevention. In addition, Eliquis was
able to establish superiority with respect to major bleeding events. Xarelto, on the other hand, was
unable to beat poorly controlled warfarin with respect to either endpoint. This observation has been
confirmed in numerous real-world epidemiology studies. (Graham, et al. 2016; Lip, et al. 2016; Yao, et al.
2016; Larsen, et al. 2016; Lip, et al. 2012; Schneeweiss, et al. 2012; Miller, et al. 2012; Granger, et al.
2011; Patel, et al. 2011; Connolly, et al. 2009)

Even Xarelto’s manufacturer acknowledged internal correspondence noting that the principal
investigator of ROCKET, now the Commissioner of the FDA, Dr. Robert Califf’s “interpretation is that
Rivaroxaban appears to be the least favored option.” (XARELTO_JANSSEN_00207793)


5. Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition Compared With Vitamin K Antagonist for
Prevention of Stroke and Embolism Trial in Atrial Fibrillation (ROCKET–AF) is the study that compared
Xarelto to warfarin in non-valvular atrial fibrillation, and was the pivotal study for the approval of
Xarelto in the treatment of these patients. Patients were anticoagulated with Coumadin/warfarin and
their dose was adjusted using a home INR device to obtain the best possible INR control. However,
information that was made available after the trial was published and the FDA had approved the drug
labeling, showed that the INR device used in the ROCKET–AF trial was faulty. This mistake made the
warfarin patients in ROCKET-AF have worse control over their warfarin dose than they should have. The
faulty device would make warfarin treated patients look worse than they actually were. So that the
ROCKET-AF comparison between Xarelto treated patients and warfarin treated patients which suggested
the two patient groups had equal risk of stroke reduction and an improved bleeding risk with Xarelto
was inappropriate; and likely incorrect.



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The efficacy and safety of warfarin is dependent on the quality of warfarin management. Warfarin
management entails maintaining enough of the drug to achieve the therapeutic effect, but not so much
so as to excessively increase a patient’s risk of bleeding. Doctors routinely use the international
normalized ratio (INR) to evaluate the degree of anticoagulation in a warfarin patient. Ideally, doctors
want to keep warfarin patients within the therapeutic range of INR between 2-3 as much as possible.
There is a direct correlation between the amount of time spent within therapeutic range and outcomes
(e.g., strokes and bleeds). The amount of time the warfarin patients spent in the therapeutic range in
ROCKET was the lowest among all NOAC Phase 3 trials. This directly affected the reported relative safety
and efficacy of Xarelto. In fact, the time in therapeutic range in ROCKET was so low that the FDA’s
Medical Reviewers voted against approval. (FDA Summary Review, NDA 202439)

Proof of the device malfunctioning in ROCKET is demonstrated by the fact that at 2 time points during
the trial, split samples were collected from all warfarin patients and the INR was analyzed by 2 methods
– one by the point of care (POC) device and the other by a central laboratory.1Below is a table depicting
the collected data (EMA CHMP Assessment Report, Feb. 5, 2016):




As can be seen above, of the 767 patients identified by the central lab as having an INR greater than 4,
approximately 29% of those patients were misclassified by the defective POC device as sub-therapeutic
or normal therapeutic, thereby encouraging physicians to inappropriately dose the patient.

Perhaps most startling, it now appears that those responsible for conducting this trial were aware of the
propensity for this device to malfunction prior to initiation of the trial, while the trial was ongoing, and
once again after database lock prior to FDA approval. (Deposition of Christopher Nessel, Feb. 16-17,
2016; Deposition of Peter DiBattiste, Apr. 12-13 and July 20, 2016; Deposition of William Byra, Apr. 5-6,
2016; Cohen 2016; Rathi, et al. 2016)



6. The dose of Xarelto currently marketed for atrial fibrillation is too high. In an effort to improve
compliance and market the drug as a once daily oral anticoagulant, the manufacturer selected 15/20 mg


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    The FDA made a similar finding. (FDA ROCKET AF Reanalysis Reviews, NDA 202439, Sept. 26, 2016)

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daily dose. This dose is excessive and results in very high plasma concentrations of Xarelto in everyone
and in a broad spectrum of patients, particularly those with advancing age and declining renal function,
exposes them to excessive bleeding risk.

My opinion that the dose is too high is shared by Dr. Califf, who stated: “My main concern after seeing
the rest of the data is that our dose is too high. I don’t want to upset people, but feel that we need more
contingency planning.” (XARELTO_JANSSEN_03927493) Dr. Califf further stated: “This is corporate BS.
Every single person involved has told me that privately they agree that there is probably a better
dose!!!!!” (DCRI0005328 - DiBattiste 40). (See also XARELTO_JANSSEN_01296748;
XARELTO_JANSSEN_00206990; XARELTO_JANSSEN_08583165; XARELTO_JANSSEN_01330113;
XARELTO_JANSSEN_00208030; XARELTO_JANSSEN_00208031; XARELTO_JANSSEN_02531744;
XARELTO_JANSSEN_01207639). Moreover, documents I’ve been provided indicate Dr. Califf voiced a
similar opinion, stating “don’t put my mom on 20 mg!” (DCRI0002794).


7. The Xarelto labeling in the package insert is inadequate and does not contain a black box warning for
bleeding. Because of the abnormalities/mistakes noted in ROCKET–AF with the INR measurement, no
good comparison of bleeding risk between Xarelto and warfarin exists. Since warfarin has a black box
warning for bleeding, so should Xarelto. Physicians have been inadequately informed as to the overall
risk of Xarelto in patients. Further, at launch, the Xarelto label inappropriately did not include important
safety data for US patients. When one looks at the table below, Xarelto has a statistically significant
(50%) increase in major bleeding events in comparison to warfarin.




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(FDA Briefing Document for the September 2011 Advisory Committee Meeting regarding SPAF
Indication, Table 99)

This information was inappropriately left out of the Xarelto package insert until September 2015, when
required to do so by the FDA. (XARELTO_JANSSEN_00000344; XARELTO_BPAG_00040364;
XARELTO_JANSSEN_15440090; XARELTO_JANSSEN_15440093; XARELTO_JANSSEN_15440094; Xarelto
Label, Sept. 2015) In fact, marketing by the pharmaceutical sales representatives to physicians
emphasizes the once daily dosing, and ignores the fact that such a dosing schedule exposes patients to
higher plasma concentrations of the drug and the unnecessary risk of over anticoagulation.



In summary, it is my opinion that using Xarelto in patients with non-valvular atrial fibrillation, when
prescribed in the manner suggested by the package insert, exposes patients to an excessive bleeding
risk. Furthermore, this risk is increased in older patients, patients who are small and weigh less than 130
pounds, or patients with reduced kidney function. After seeing multiple patients with life-threatening
gastrointestinal bleeding due to Xarelto and my review of the literature and the materials provided for
my consideration, I have completely abandoned the use of Xarelto in my own practice. It is my opinion
that the use of Xarelto in patients with non-valvular atrial fibrillation is not reasonably safe for the
reasons set forth in this report. Additionally, I continue to advise students, residents, and other


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practicing physicians of what I feel are unfounded conclusions of ROCKET- AF, the high plasma
concentration and low therapeutic index seen with Xarelto and its once daily dosing schedule.



Sincerely,




Frank W. Smart, MD, FACC, FACP
Gerald S. Berenson Professor and Chief of Cardiology
Vice-Chair of the Department of Medicine for Clinical Affairs
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